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FILED

MAY - & 2015
UNITED STATES DISTRICT COURT Clerk. U.S. D
4 7 ~lerk, U.S. District and
FOR THE DISTRICT OF COLUMBIA Bankruptcy Courts.
UNITED STATES OF AMERICA : NO. \D ev ad | - O14 (a \-)

v. : 17 U.S.C. § 506(a)(1)(B);
18 U.S.C. § 2319(c)

RICARDO TAYLOR : (Copyright Infringement)

STATEMENT OF OFFENSE

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the defendant, Ricardo
Taylor (“Taylor”), and the United States agree and stipulate as follows:

At all times relevant to the offense charged in the Information, Taylor was employed as a
Mailroom and File Supervisor in the Department of Labor’s (“DOL”), Office of Workers
Compensation Programs (“OWCP”). Taylor’s office was located in the District of Columbia.
Between on or about February 2008, through on or about July 28, 2013, Taylor purchased illegal
copies of copyrighted motion pictures that were available for commercial distribution or were in
theaters. Taylor used a five-bay DVD burner to duplicate the illegal copies that he purchased,
and Taylor distributed the copies that he reproduced to colleagues at DOL in exchange for
money. Taylor utilized his DOL email to communicate with colleagues who were interested in
purchasing movies from Taylor, and he operated his DVD business both during and after
business hours. Taylor maintained a log of his sales during this time period that included
customer names, movie names, and dates of purchases. ‘Taylor typically charged $4 or $5 for
each copy that he distributed

Between on or about January 2, 2013, and July 16, 2013, Taylor reproduced and
distributed approximately 1,268 DVDs to his colleagues. The retail value of those DVDs is

estimated to be approximately $19,020.
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Taylor willfully infringed a copyright by reproducing and distributing, during a | 80-day

period, at least 10 copies of one or more copyrighted works, which had a retail value of more

than $2,500

BY

Respectfully submitted,

RONALD C MACHEN JR
UNITED STATES ATTORNEY

 

Michael J Friedman
Assistant United States Attorney
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DEFENDANT'S ACCEPTANCE

 

| have read every word of this Statement of Offense. Pursuant to Federal Rule of
Criminal Procedure 11, after consulting with my attorney, I agree and stipulate to this Statement
of Offense, and declare under penalty of perjury that it 1s true and correct

Date. V7 VY js Keo Pe&

Ricardo Taylor
Defendant

ATTORNEY'S ACKNOWLEDGMENT

 

I have discussed this Statement of Offense with my client, Ricardo Taylor. [ concur with
his decision to stipulate to this Statement of Offense

Date. F / )
— “THeslep
Attorney for Defendant
